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4    Attorney for:
     FREDDY LOIZA
5
6
7                       IN THE UNITED STATES DISTRICT COURT
8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,     )        CASE NO.    2:10-cr-00078 MCE
                                   )
11                   Plaintiff,    )        STIPULATION AND ORDER CONTINUING
                                   )        STATUS CONFERENCE
12        v.                       )
                                   )
13   ISRAEL BALLARDO               )
     aka Ernesto Franco Alvarez,   )        DATE:     December 9, 2010
14        and                      )        TIME:     9:00 a.m.
     FREDDY LOAIZA                 )        COURT:    Hon. Morrison England, Jr.
15                                 )
                     Defendants.   )
16   ______________________________)
17
                                      Stipulation
18
           The parties, through undersigned counsel, stipulate that the
19
     status conference, scheduled for October 21, 2010, may be continued to
20
     December 9, 2010, at 9:00 a.m.      The defense is reviewing discovery and
21
     investigation is ongoing.      All parties are requesting additional time
22
     to continue review of discovery, investigation, and negotiations with
23
     the prosecution.    The parties agree that time may be excluded from the
24
     speedy trial calculation under the Speedy Trial Act for counsel
25
     preparation, pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code
26
     T4.
27
     / / /
28

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1
2         The parties have authorized the defense counsel for Israel

3    Ballardo to sign this stipulation on their behalf.

4
5    DATED: Oct. 18, 2010                       BENJAMIN WAGNER
                                                United States Attorney
6
7                                      by       /s/ Dina L. Santos, for
                                                Jill Thomas
8                                               Assistant U.S. Attorney

9
     DATED: Oct. 18, 2010
10                                     by       /s/ Dina L. Santos for
                                                Scott N. Cameron
11                                              Counsel for ISRAEL BALLARDO

12
     DATED: Oct. 18, 2010
13                                     by       /s/Dina L. Santos
                                                Dina Santos
14                                              Counsel for FREDDY LOAIZA

15
16                                      Order

17        Good cause appearing,

18        The   status   conference,   scheduled     for   October   21,   2010,   is

19   continued to December 9, 2010, at 9:00 a.m.

20        Time is excluded from the speedy trial calculation pursuant to 18

21   U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4 for counsel preparation.

22        IT IS SO ORDERED.

23   Dated: October 21, 2010
24
25                                      _____________________________
                                        MORRISON C. ENGLAND, JR.
26                                      UNITED STATES DISTRICT JUDGE
27
28

                                            2
